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                      UNITED STATES COURT OF APPEALS
                                                                        FILED
                              FOR THE NINTH CIRCUIT
                                                                        JAN 17 2024
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS




 In the Matter of: DONALD CHARLES                 No. 22-15201
 SCHWARTZ,
                                                  D.C. No. 3:20-cv-07680-VC
                Debtor,
                                                  U.S. District Court for Northern
 ------------------------------                   California, San Francisco

  DONALD CHARLES SCHWARTZ,                        ORDER

                Appellant,

   v.

 BANK OF NEW YORK MELLON,
 FKA Bank of New York,

                Appellee.


        A review of the docket demonstrates that counsel has failed to file the

opening brief in this case.

        Pursuant to Ninth Circuit Rule 42-1, this appeal is dismissed for failure to

prosecute. Counsel for appellant is directed to notify his/her client immediately in

writing regarding this dismissal.

        This order served on the district court shall, 21 days after the date of the

order, act as the mandate of this court.
Case 3:20-cv-07680-VC Document 24 Filed 01/17/24 Page 2 of 2

                                  FOR THE COURT:

                                  MOLLY C. DWYER
                                  CLERK OF COURT
